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                                    IN THE UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF VIRGINIA
                                             ABINGDON DIVISION
                                  CRIMINAL MINUTES – SENTENCING HEARING

                                                 VIA VIDEO CONFERENCE

 Case No.: 1:19CR21; 1:19CR47                                         Date: 2/18/2021
  Defendant: Robert Osborne, Custody                                Counsel: Mark Haugh, Retained



 PRESENT:           JUDGE:                     James P. Jones       TIME IN COURT: 10:26 – 10:55 a.m.
                    Deputy Clerk:              Felicia Clark               Total: 29 minutes
                    Court Reporter:            Donna Prather, OCR
                    U. S. Attorney:            Suzanne Kerney-Quillen
                    USPO:                      Ryan Thayer
                    Case Agent:                Chris Mueller

 PROCEEDINGS:

 *Defendant consented to video conference*

           No Objections to Presentence Report.
           No evidence presented. Oral argument by counsel as to the appropriate sentence to be imposed in this case.
           Court adopts Presentence Report.
           Allocutions.

 SENTENCE IMPOSED AS FOLLOWS:
 CBOP: One Hundred and Twenty (120) months. This term consists of 120 months on each of Counts 1s and 5s of
       the Superseding Indictment in case no.: 1:19CR21 and Count 1 of the Indictment in case no.: 1:19CR47, all
       to be served concurrently.

 SR:       Five (5) years. This term consists of 5 years on Count 1s (1:19CR21) and Count 1 (1:19CR47) and 3 years
                    on Count 5s (1:19CR21), all such terms to run concurrently.

 SA:   $300.00 due immediately.
 FINE: Waived
 REST: N/A

           Court recommends as follows:

                    That the defendant be designated to either FCC Butner or FCI McDowell, in order to facilitate
                    visits by family members.

 SPECIAL CONDITIONS OF SUPERVISION (Check applicable conditions):

       (1) Must pay any monetary penalty that is imposed by this judgment in the manner directed by the court;

 (2)       Must reside in a residence free of firearms, ammunition, destructive devices, and dangerous weapons;

 (3)       Following release from imprisonment, the court will evaluate defendant's status and determine whether,
           after incarceration, drug rehabilitation is necessary and appropriate. If additional rehabilitation is deemed
           appropriate, the defendant must participate in a program as designated by the court, upon consultation with
           the probation officer, until such time as the defendant has satisfied all the requirements of the program; and

 (4)       Must submit his or her person, property, house, residence, vehicle, papers, [computers as defined in 18
           U.S.C. Section 1030(e)(1), other electronic communications or data storage devices or media], or office, to
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          a search conducted by a United States probation officer. Failure to submit to a search may be grounds for
          revocation of release. The defendant shall warn any other occupants that the premises may be subject to
          searches pursuant to this condition. An officer may conduct a search pursuant to this condition only when
          reasonable suspicion exists that the defendant has violated a condition of his or her supervision and that the
          areas to be searched contain evidence of this violation


 PAYMENT SCHEDULE:

          A lump sum payment of $300.00 is due immediately.

 ADDITIONAL RULINGS:
       Defendant shall forfeit his interest in the property listed in the Order of Forfeiture entered on 11/10/2020.
       Order of Forfeiture shall be made a part of the judgment in this case.
       Defendant advised of right to appeal.
       Defendant remanded to custody.
